                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 1:12-00001
                                                     )       Judge Trauger
[2] WAYNE HAMPTON, JR.,                              )
[3] DEVARIO MCFARLAND, and                           )
[4] RAY USSERY                                       )

                                            ORDER

       On December 4, 2012, the court granted defendant Hampton’s Motion to Continue Trial

(Docket No. 96), conditioned upon the timely filing of waivers of speedy trial by all three

remaining defendants (Docket No. 97). Defendant Hampton has filed a waiver of speedy trial

(Docket No. 95), and it is anticipated that defendant Ussery will be filing a waiver of speedy trial

shortly. Although defendant Hampton’s Motion to Continue Trial represented that counsel for

defendant McFarland also agreed to the continuance, and that all three counsel agreed to a new

trial date of May 21, 2013, defendant McFarland has not filed a waiver of speedy trial, and his

counsel has informed chambers that he refuses to execute a waiver of speedy trial. It is therefore

ORDERED that the delay between the present speedy trial deadline for defendant McFarland of

February 6, 2013 and the presently scheduled trial date of May 21, 2013 is excludable under the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), as the ends of justice served by trying all three

defendants in this drug conspiracy case together and at a time following government counsel’s

maternity leave so as to assure continuity of counsel for the government outweigh the best

interest of defendant McFarland in a speedy trial.

       It is so ORDERED.

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    ENTER this 7th day of January 2013.



                                              ________________________________
                                                    ALETA A. TRAUGER
                                                      U.S. District Judge




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